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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                       :
    Sucesión Simon Diaz Marquez,                       :
                                                       :
           Plaintiff,                                  :
                                                       :   Civil Action No. 1:23-cv-23933-FAM
                           v.                          :
                                                       :
    Miami Fine Foods, LLC and Avi Assor,               :
                                                       :
           Defendants.                                 :
                                                       :

         SUCESIÓN SIMON DIAZ MARQUEZ’S RESPONSES AND OBJECTIONS
       TO MIAMI FINE FOODS, LLC’S FIRST SET OF REQUESTS FOR ADMISSION

          Pursuant to Federal Rule of Civil Procedure 36, Plaintiff, Sucesión Simon Diaz Marquez

   (“Plaintiff”) hereby responds and objects to Defendant Miami Fine Foods, LLC’s (“Defendant”)

   First Set of Requests for Admission (the “Requests”).

                           COMMENTS AND GENERAL OBJECTIONS

          1.      Plaintiff incorporates by reference its Responses and Objections to Miami Fine

   Foods, LLC’s First Set of Interrogatories and First Set of Requests for Production of Documents,

   served concurrently herewith.

          2.      Plaintiff objects to the Requests, as well as the definitions of terms and instructions

   thereto, to the extent that Defendant seeks to impose an obligation greater than that imposed by

   the relevant Federal Rules of Civil Procedure or other applicable law. Responses will be provided

   to the extent required by the applicable rules.

          3.      Plaintiff objects to the definition of “You”, “Your”, “Plaintiff”, “Counter-

   Defendant”, “Estate”, and “Sucesión Simon Diaz Marquez” as encompassing entities or

   individuals other than the named Plaintiff, Sucesión Simon Diaz Marquez. To the extent any
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   response herein refers to “You”, “Your”, “Plaintiff”, “Counter-Defendant”, “Estate”, or “Sucesión

   Simon Diaz Marquez”, that response should be construed as referring strictly to the named

   Plaintiff, Sucesión Simon Diaz Marquez.

          4.      Plaintiff reserves the right to supplement, amend, or modify its responses in

   accordance with Fed. R. Civ. P. 26(e), as it obtains additional information and uncovers additional

   documents.

          Subject to these Comments and General Objections, and subject to the specific objections

   made below, Plaintiff responds as follows:




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                            RESPONSES AND SPECIFIC OBJECTIONS

   REQUEST FOR ADMISSION NO. 1:

          Admit that MFF’s Mark identifies the source or origin of MFF’s goods.

   RESPONSE TO REQUEST FOR ADMISSION NO. 1:

          Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

   to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

   have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

   Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

   requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

   is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

   this Court that attorneys in this District be governed at all times by a spirit of cooperation,

   professionalism, and civility…it remains the Court’s expectation that counsel will seek to

   accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

   possible.” S.D. Fla. L.R. at Introductory Statement.

          Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

   factual issue in dispute in this case. Requests for admission may be used only to establish simple

   facts already known by the requesting party for which there is no real dispute.

   REQUEST FOR ADMISSION NO. 2:

          Admit that the Estate did not offer any of the goods and services identified in the Estate’s

   First Application in the United States under the Estate’s TS Mark prior to 2017.

   RESPONSE TO REQUEST FOR ADMISSION NO. 2:

          Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

   to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel



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   have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

   Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

   requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

   is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

   this Court that attorneys in this District be governed at all times by a spirit of cooperation,

   professionalism, and civility…it remains the Court’s expectation that counsel will seek to

   accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

   possible.” S.D. Fla. L.R. at Introductory Statement.

          Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

   factual issue in dispute in this case. Requests for admission may be used only to establish simple

   facts already known by the requesting party for which there is no real dispute.

   REQUEST FOR ADMISSION NO. 3:

          Admit that the Estate did not offer any of the goods and services identified in the Estate’s

   Second Application in the United States under the Estate’s CTS Mark prior to 2017.

   RESPONSE TO REQUEST FOR ADMISSION NO. 3:

          Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

   to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

   have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

   Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

   requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

   is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

   this Court that attorneys in this District be governed at all times by a spirit of cooperation,

   professionalism, and civility…it remains the Court’s expectation that counsel will seek to



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   accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

   possible.” S.D. Fla. L.R. at Introductory Statement.

          Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

   factual issue in dispute in this case. Requests for admission may be used only to establish simple

   facts already known by the requesting party for which there is no real dispute.

   REQUEST FOR ADMISSION NO. 4:

          Admit that you have not received telephone calls from customers seeking to reach MFF.

   RESPONSE TO REQUEST FOR ADMISSION NO. 4:

          Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

   to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

   have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

   Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

   requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

   is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

   this Court that attorneys in this District be governed at all times by a spirit of cooperation,

   professionalism, and civility…it remains the Court’s expectation that counsel will seek to

   accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

   possible.” S.D. Fla. L.R. at Introductory Statement.

          Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

   factual issue in dispute in this case. Requests for admission may be used only to establish simple

   facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

   this request as vague and ambiguous as Plaintiff does not know who Defendant’s customers are

   and the term “customers” is undefined.



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   REQUEST FOR ADMISSION NO. 5:

          Admit that you have not received telephone calls from MFF’s customers.

   RESPONSE TO REQUEST FOR ADMISSION NO. 5:

          Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

   to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

   have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

   Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

   requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

   is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

   this Court that attorneys in this District be governed at all times by a spirit of cooperation,

   professionalism, and civility…it remains the Court’s expectation that counsel will seek to

   accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

   possible.” S.D. Fla. L.R. at Introductory Statement.

          Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

   factual issue in dispute in this case. Requests for admission may be used only to establish simple

   facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

   this request as vague and ambiguous as Plaintiff does not know who Defendant’s customers are

   and the term “customers” is undefined.

   REQUEST FOR ADMISSION NO. 6:

          Admit that you have not received emails from customers seeking to reach MFF.

   RESPONSE TO REQUEST FOR ADMISSION NO. 6:

          Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

   to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel



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   have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

   Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

   requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

   is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

   this Court that attorneys in this District be governed at all times by a spirit of cooperation,

   professionalism, and civility…it remains the Court’s expectation that counsel will seek to

   accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

   possible.” S.D. Fla. L.R. at Introductory Statement.

          Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

   factual issue in dispute in this case. Requests for admission may be used only to establish simple

   facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

   this request as vague and ambiguous as Plaintiff does not know who Defendant’s customers are

   and the term “customers” is undefined.

   REQUEST FOR ADMISSION NO. 7:

          Admit that you have not received emails from MFF’s customers.

   RESPONSE TO REQUEST FOR ADMISSION NO. 7:

          Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

   to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

   have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

   Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

   requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

   is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

   this Court that attorneys in this District be governed at all times by a spirit of cooperation,



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   professionalism, and civility…it remains the Court’s expectation that counsel will seek to

   accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

   possible.” S.D. Fla. L.R. at Introductory Statement.

          Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

   factual issue in dispute in this case. Requests for admission may be used only to establish simple

   facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

   this request as vague and ambiguous as Plaintiff does not know who Defendant’s customers are

   and the term “customers” is undefined.

   REQUEST FOR ADMISSION NO. 8:

          Admit that you did not conduct a trademark availability search in the United States to

   determine the availability of the Estate’s TS Mark.

   RESPONSE TO REQUEST FOR ADMISSION NO. 8:

          Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

   to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

   have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

   Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

   requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

   is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

   this Court that attorneys in this District be governed at all times by a spirit of cooperation,

   professionalism, and civility…it remains the Court’s expectation that counsel will seek to

   accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

   possible.” S.D. Fla. L.R. at Introductory Statement.




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          Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

   factual issue in dispute in this case. Requests for admission may be used only to establish simple

   facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

   this request to the extent that it seeks information that is protected from discovery by the attorney-

   client privilege, work product immunity, or other applicable privilege. Plaintiff objects to this

   request as vague and ambiguous as the terms “trademark availability search” and “availability” are

   undefined.

   REQUEST FOR ADMISSION NO. 9:

          Admit that you did not conduct a trademark availability search in the United States to

   determine the availability of the Estate’s CTS Mark.

   RESPONSE TO REQUEST FOR ADMISSION NO. 9:

          Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

   to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

   have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

   Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

   requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

   is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

   this Court that attorneys in this District be governed at all times by a spirit of cooperation,

   professionalism, and civility…it remains the Court’s expectation that counsel will seek to

   accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

   possible.” S.D. Fla. L.R. at Introductory Statement.

          Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

   factual issue in dispute in this case. Requests for admission may be used only to establish simple



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    facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

    this request to the extent that it seeks information that is protected from discovery by the attorney-

    client privilege, work product immunity, or other applicable privilege. Plaintiff objects to this

    request as vague and ambiguous as the terms “trademark availability search” and “availability” are

    undefined.

    REQUEST FOR ADMISSION NO. 10:

           Admit that you were aware of MFF’s use of MFF’s Mark prior to your adoption of the

    Estate’s TS Mark in the United States in connection with the goods and services identified in the

    First Application.

    RESPONSE TO REQUEST FOR ADMISSION NO. 10:

           Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

    to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

    have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

    Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

    requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

    is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

    this Court that attorneys in this District be governed at all times by a spirit of cooperation,

    professionalism, and civility…it remains the Court’s expectation that counsel will seek to

    accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

    possible.” S.D. Fla. L.R. at Introductory Statement.

           Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

    factual issue in dispute in this case. Requests for admission may be used only to establish simple




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    facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

    this request as vague and ambiguous as the term “adoption” is undefined.

    REQUEST FOR ADMISSION NO. 11:

           Admit that you were aware of MFF’s use of MFF’s Mark prior to your adoption of the

    Estate’s CTS Mark in the United States in connection with the goods and services identified in the

    Second Application.

    RESPONSE TO REQUEST FOR ADMISSION NO. 11:

           Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

    to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

    have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

    Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

    requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

    is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

    this Court that attorneys in this District be governed at all times by a spirit of cooperation,

    professionalism, and civility…it remains the Court’s expectation that counsel will seek to

    accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

    possible.” S.D. Fla. L.R. at Introductory Statement.

           Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

    factual issue in dispute in this case. Requests for admission may be used only to establish simple

    facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

    this request as vague and ambiguous as the term “adoption” is undefined.




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    REQUEST FOR ADMISSION NO. 12:

           Admit that you began using the Estate’s TS Mark in the United States with respect to the

    goods and services identified in the First Application after MFF began using the MFF Mark in

    commerce.

    RESPONSE TO REQUEST FOR ADMISSION NO. 12:

           Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

    to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

    have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

    Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

    requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

    is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

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    accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

    possible.” S.D. Fla. L.R. at Introductory Statement.

           Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

    factual issue in dispute in this case. Requests for admission may be used only to establish simple

    facts already known by the requesting party for which there is no real dispute.

    REQUEST FOR ADMISSION NO. 13:

           Admit that you began using the Estate’s CTS Mark in the United States with respect to the

    goods and services identified in the Second Application after MFF began using the MFF Mark in

    commerce.




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    RESPONSE TO REQUEST FOR ADMISSION NO. 13:

           Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

    to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

    have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

    Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

    requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

    is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

    this Court that attorneys in this District be governed at all times by a spirit of cooperation,

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    accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

    possible.” S.D. Fla. L.R. at Introductory Statement.

           Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

    factual issue in dispute in this case. Requests for admission may be used only to establish simple

    facts already known by the requesting party for which there is no real dispute.

    REQUEST FOR ADMISSION NO. 14:

           Admit that you were aware of MFF’s use of MFF’s Mark in 2016.

    RESPONSE TO REQUEST FOR ADMISSION NO. 14:

           Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

    to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

    have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

    Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

    requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

    is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of



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    this Court that attorneys in this District be governed at all times by a spirit of cooperation,

    professionalism, and civility…it remains the Court’s expectation that counsel will seek to

    accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

    possible.” S.D. Fla. L.R. at Introductory Statement.

           Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

    factual issue in dispute in this case. Requests for admission may be used only to establish simple

    facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

    this request as vague and ambiguous as the term “aware” is undefined.

    REQUEST FOR ADMISSION NO. 15:

           Admit that you were aware of MFF’s use of MFF’s Mark in 2017.

    RESPONSE TO REQUEST FOR ADMISSION NO. 15:

           Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

    to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

    have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

    Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

    requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

    is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

    this Court that attorneys in this District be governed at all times by a spirit of cooperation,

    professionalism, and civility…it remains the Court’s expectation that counsel will seek to

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    possible.” S.D. Fla. L.R. at Introductory Statement.

           Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

    factual issue in dispute in this case. Requests for admission may be used only to establish simple



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    facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

    this request as vague and ambiguous as the term “aware” is undefined.

    REQUEST FOR ADMISSION NO. 16:

           Admit that you were aware of MFF’s use of MFF’s Mark in 2018.

    RESPONSE TO REQUEST FOR ADMISSION NO. 16:

           Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

    to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

    have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

    Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

    requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

    is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

    this Court that attorneys in this District be governed at all times by a spirit of cooperation,

    professionalism, and civility…it remains the Court’s expectation that counsel will seek to

    accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

    possible.” S.D. Fla. L.R. at Introductory Statement.

           Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

    factual issue in dispute in this case. Requests for admission may be used only to establish simple

    facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

    this request as vague and ambiguous as the term “aware” is undefined.

    REQUEST FOR ADMISSION NO. 17:

           Admit that you were aware of MFF’s use of MFF’s Mark in 2019.




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    RESPONSE TO REQUEST FOR ADMISSION NO. 17:

           Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

    to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

    have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

    Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

    requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

    is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

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    possible.” S.D. Fla. L.R. at Introductory Statement.

           Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

    factual issue in dispute in this case. Requests for admission may be used only to establish simple

    facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

    this request as vague and ambiguous as the term “aware” is undefined.

    REQUEST FOR ADMISSION NO. 18:

           Admit that you were aware of MFF’s use of MFF’s Mark in 2020.

    RESPONSE TO REQUEST FOR ADMISSION NO. 18:

           Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

    to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

    have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

    Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

    requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal



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    is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

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           Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

    factual issue in dispute in this case. Requests for admission may be used only to establish simple

    facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

    this request as vague and ambiguous as the term “aware” is undefined.

    REQUEST FOR ADMISSION NO. 19:

           Admit that you were aware of MFF’s use of MFF’s Mark in 2021.

    RESPONSE TO REQUEST FOR ADMISSION NO. 19:

           Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

    to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

    have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

    Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

    requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

    is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

    this Court that attorneys in this District be governed at all times by a spirit of cooperation,

    professionalism, and civility…it remains the Court’s expectation that counsel will seek to

    accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

    possible.” S.D. Fla. L.R. at Introductory Statement.




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           Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

    factual issue in dispute in this case. Requests for admission may be used only to establish simple

    facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

    this request as vague and ambiguous as the term “aware” is undefined.

    REQUEST FOR ADMISSION NO. 20:

           Admit that you were aware of MFF’s use of MFF’s Mark in 2022.

    RESPONSE TO REQUEST FOR ADMISSION NO. 20:

           Plaintiff objects to this request in that Plaintiff’s counsel filed a motion in the instant action

    to withdraw as counsel (ECF No. 32) (the “Motion”). As noted in the Motion, Plaintiff and counsel

    have irreconcilable differences than cannot be resolved which necessitate counsel’s withdrawal.

    Accordingly, Defendant knows that Plaintiff cannot adequately respond to Defendant’s discovery

    requests at this time, but has refused to extend Plaintiff’s deadline to respond. Defendant’s refusal

    is in direct contravention with the local rules of the Court, which state “it is a fundamental tenet of

    this Court that attorneys in this District be governed at all times by a spirit of cooperation,

    professionalism, and civility…it remains the Court’s expectation that counsel will seek to

    accommodate their fellow practitioners, including in matters of scheduling, whenever reasonably

    possible.” S.D. Fla. L.R. at Introductory Statement.

           Plaintiff objects to this request in that it improperly requests the admission of a legal and/or

    factual issue in dispute in this case. Requests for admission may be used only to establish simple

    facts already known by the requesting party for which there is no real dispute. Plaintiff objects to

    this request as vague and ambiguous as the term “aware” is undefined.




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    Dated: West Palm Beach, FL
           March 8, 2024
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                                              Attorneys for Plaintiff




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on this 8th day of March, 2024, I caused a true and correct copy of the

    foregoing Sucesión Simon Diaz Marquez’s Responses and Objections to Miami Fine Foods,

    LLC’s First Set of Requests for Admission to be served via e-mail upon Defendants’ counsel of

    record at the following email addresses.

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                                                                         /Clarissa Toth/       .
                                                                          Clarissa Toth
